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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

TYRESE T. ROLAND,                                 )
                                                  )
                       Plaintiff,                 )
                                                  )
               v.                                 )   No. 14 C 10161
                                                  )
THOMAS DART, Sheriff of Cook County,              )   Judge Rebecca R. Pallmeyer
                                                  )
                       Defendant.                 )


                            MEMORANDUM OPINION AND ORDER

       In June 2014, Plaintiff Tyrese T. Roland, then a detainee at the Cook County

Department of Corrections (CCDOC), injured his right eye during a basketball game. Roland

slowly lost vision in the eye. By June 2015, his vision had deteriorated to the point that he could

no longer perceive light out of his right eye. Plaintiff has sued the County of Cook and Cook

County Sheriff Tom Dart in his official capacity (collectively, "Defendants"), pursuant to 42

U.S.C. § 1983 and Monell v. Department of Social Services, 436 U.S. 658 (1978), alleging that

their policies and practices demonstrated deliberate indifference to Plaintiff's medical needs and

exacerbated the severity of his eye injury. Plaintiff also brought suit against one of his treating

physicians, Dr. Muhammad Rafiq, but all claims against Dr. Rafiq have since been dismissed.

Defendants have each filed motions for summary judgment [74] [77].               For the reasons

discussed below, the court denies Defendants' motions.

                                         BACKGROUND

       The parties have filed statements of material facts in accordance with Local Rule

56.1(a)(3). Where the parties have failed to cite to support in the record to dispute directly facts

set forth in the statements, the court deems those facts to be admitted. See Local Rule 56.1(b)

("All material facts set forth in the statement required of the moving party will be deemed to be

admitted unless controverted by the statement of the opposing party."); see also F.T.C. v. Bay


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Area Bus. Council, Inc., 423 F.3d 627, 633 (7th Cir.2005) ("Because of the important function

local rules like Rule 56.1 serve in organizing the evidence and identifying disputed facts, we

have consistently upheld the district court's discretion to require strict compliance with those

rules.").

I.      Plaintiff's Injury and Treatment

        Plaintiff was incarcerated at CCDOC, primarily in Division XI, from April 2014 until his

transfer to the Illinois Department of Corrections (IDOC) in December 2014. (Defs.' Jt. Rule

56.1 Stmt. of Mat. Facts [78], hereinafter "Defs.' 56.1," ¶¶ 1–2.) While playing basketball on

June 28, 2014, Plaintiff suffered an injury when he was poked in his right eye. (Id. ¶ 20.) The

following day, Plaintiff had watery, crust-covered eyes and vision difficulties, and he requested

medical assistance. (Dep. of Tyrese Roland, Ex. A to Defs.' 56.1 [78-2], hereinafter "Roland

Dep.," 34:24–35:14.) A CCDOC officer transported Plaintiff to the Division XI dispensary, where

Elizabeth Santos, a registered nurse (RN), evaluated him and sent him to the emergency room

at Cermak Health Services, CCDOC's on-site medical facility. (Defs.' 56.1 ¶¶ 21–22.) During

Dr. Rafiq's evaluation of Plaintiff at Cermak, Plaintiff told him about the injury he suffered the

previous day. (Id. ¶ 23.) After examining Plaintiff, Dr. Rafiq diagnosed conjunctivitis, an eye

infection that usually resolves on its own, and prescribed the antibiotic ointment erythromycin.

(Id. ¶¶ 24–25.) Plaintiff asserts that following this visit with Dr. Rafiq, he made at least two oral

requests to CCDOC staff members to be taken to the division dispensary to visit a doctor. Each

time, he asserts, the officer denied his request and instructed him to fill out a health service

request ("HSR") form instead. (Pl.'s Rule 56.1 Stmt. of Add'l Facts [80], hereinafter "Pl.'s 56.1,"

¶ 21; Roland Dep. 43:1–16.) Defendant denies that officers ever refused Plaintiff’s requests,

and assert that detainees' requests to be taken to the dispensary are never refused. (Defs.'

Resp. to Pl.'s 56.1 [84] ¶ 21.)

        Five weeks after seeing Dr. Rafiq at Cermak, Plaintiff continued to have vision problems.

On August 3, 2014, he filled out and submitted an HSR form, which is the primary method by

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which CCDOC inmates request non-emergency healthcare. (Id. ¶¶ 4, 26.) Inmates at CCDOC

place HSR forms in lock boxes that only Cermak personnel can access. (Id. ¶ 6.) According to

a Cermak written policy (Policy # E-07), which is dated November 2, 2012 and entitled

"NONEMERGENCY HEALTH CARE REQUESTS AND SERVICES," HSR forms must be

picked up daily and reviewed by a nurse or other qualified health care professional within 24

hours of collection. (Id. ¶ 5; Cermak Policy E-07, Ex. K to Defs.' 56.1 [78-12], hereinafter "Policy

E-07.") If the HSR form describes a "clinical symptom," a "qualified health professional" must

conduct a face-to-face evaluation of the patient on the next business day in the division's

dispensary or other clinical setting. (Id.) "Qualified health care professionals" include RNs and

licensed nurse practitioners (LPNs). (Id. ¶ 19.) Any medical symptom, such as a headache,

constitutes a "clinical symptom." (Pl.'s Rule 56.1 Stmt. of Additional Facts [80], hereinafter "Pl.'s

56.1," ¶ 4.) In Division XI, Nurse Santos typically collects and reviews the HSR forms and

determines whether the detainees who submitted the forms should be transported to the

dispensary for evaluation. (Defs.' 56.1 ¶ 15.). If she is not working on a particular day, other

Cermak employees can collect the forms, and all Cermak personnel working in Division XI

share the responsibility of entering HSR forms into detainees' electronic medical records. (Id.

¶¶ 16, 18.)

       Lisa Locke, an LPN at Cermak, reviewed Plaintiff's August 3 HSR form on August 10,

2014 and entered the form into his electronic medical record. 1 (Id. ¶ 30; Defs.' Answer to Pl.'s

First Request to Admit, Ex. 5 to Pl.'s Resp. to Defs.' 56.1 [80-2], ¶ 3.) On the form, Plaintiff

stated that he had been given erythromycin to treat his vision but that his vision was getting

worse. (Defs.' 56.1 ¶ 26.) Though vision loss is a "clinical symptom," Nurse Locke did not

       1
                If Plaintiff submitted the form on the same day he completed it (that is, August 3),
then the seven-day delay before Locke reviewed it appears to violate Cermak Policy E-07,
which calls for review of HSR forms within 24 hours of submission. Defendant notes that the
electronic HSR form indicates that the form was placed in the box for review on August 9,
suggesting that Locke reviewed the form within the 24-hour period, as required. (Defs.' 56.1
¶ 30.) Plaintiff, however, disputes the reliability of the date on the electronic form; he notes that
was Nurse Locke herself who made that date entry. (Pl.'s Resp. to Defs.' 56.1 [80] ¶ 30.)

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conduct a face-to-face evaluation of Plaintiff. (Defs.' 56.1 ¶ 30.) Instead, she requested a

"routine" appointment for Plaintiff to see the optometrist at Cermak onOctober 10, 2014. (Id.

¶ 31.) It is unclear from the record whether such an appointment was ever scheduled, nor is it

clear why Nurse Locke requested an appointment date two months away. Defendant asserts

that October 10 was the optometry department's next available date. (Defs.' 56.1 ¶ 30.) Nurse

Locke testified at her deposition that she "just came up with that date . . . a couple of weeks out"

because she could see the optometry's department schedule and could see that they were

"booked up." (Dep. of Lisa M. Locke, Ex. D to Defs.' 56.1 [78-5], hereinafter "Locke Dep."

72:24–73:6.). 2 Plaintiff avers that he submitted another HSR form at the end of August 2014 in

which he repeated his complaint of vision loss.       (Pl.'s 56.1 ¶ 25; Roland Dep. 30:14–20.)

Defendants have no record of any such form and deny that it was submitted.

       It is undisputed, however, that Plaintiff completed and submitted another HSR form on

October 1. On the October 1 form, he stated, "My vision is going out due to trauma," and

reported that he had had the problem for five months. (Defs.' 56.1 ¶ 37.) Nurse Locke reviewed

that form on October 3 (Id. ¶ 38), and requested an appointment with the optometrist for

December 10, 2014. (Pl.'s Medical Records, Ex. M to Defs.' 56.1 [78-14], at CCU 27.) Plaintiff

submitted two additional HSR forms, dated October 4, 2014, in which he complained of

symptoms unrelated to his eye. (Defs.' 56.1 ¶ 40.) Nurse Santos picked up these forms on

October 5, and conducted a face-to-face evaluation of Plaintiff that day. (Id.) She made a note

that Plaintiff reported having blurry vision in his right eye since May 2014 and that he had

occasional headaches but no nausea, vomiting, or dizziness. (Pl.'s 56.1 ¶ 33.) On October 14,

the optometrist at Cermak examined Plaintiff and made a referral to Cermak's on-site




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              Nurse Locke herself did not have the authority to schedule appointments. (Locke
Dep. at 74:18–24.)


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ophthalmologist; the medical record called the referral “urgent.” 3 (Defs.' 56.1 ¶ 42; Pl.'s Medical

Records CCU 50.) The next day, Plaintiff visited an ophthalmologist, who observed that his

retina was detached and initiated a request for Plaintiff to see a retinal specialist. (Def.'s 56.1

¶ 43–44.) The following day, October 16, Plaintiff visited the Stroger Hospital eye clinic and was

diagnosed with "chronic retinal detachment with the macula off." (Id. ¶ 45.) Plaintiff visited the

Stroger eye clinic again on October 20 and 22. (Id. ¶ 47.) At his October 20 evaluation, he was

still able to count fingers and see motion. (Pl.'s 56.1 ¶ 35.)

       Dr. Demitra Skondra, Plaintiff's retinal specialist, determined that he did not require

urgent surgery. (Defs.' 56.1 ¶ 48.) At that time in October 2014, Plaintiff was on trial for his

criminal charges and faced the possibility that he would be sentenced to serve time at an IDOC

correctional facility. (Id. ¶ 46.) Because of the complicated nature of the surgery and recovery

Plaintiff required, Dr. Skondra believed it was more important that Plaintiff have surgery at a

time when he could stay in one place afterward (either by having his sentencing continued or by

having surgery after transfer to the IDOC) than to perform the surgery as soon as possible. (Id.

¶¶ 48–52.) Dr. Skondra eventually scheduled the surgery for December 16, believing that the

judge would keep Plaintiff in Chicago. 4 (Id. ¶ 54.) Dr. Skondra eventually had to reschedule the

surgery for December 30 to address a more urgent case. (Id. ¶¶ 54–55.) Despite Plaintiff's

attempts to stay the sentencing to allow him to recover from surgery at CCDOC, Plaintiff was

sentenced on December 18 and transferred to the IDOC the following day. (Pl.'s 56.1 ¶ 40.)


       3
               It is unclear why Plaintiff's appointment with the optometrist was on October 14,
rather than on October 10 as Nurse Locke had requested. Plaintiff argues in his brief that Nurse
Santos facilitated Plaintiff's being seen by the optometrist, but he provides no evidentiary
support for that assertion. (See Pl.'s Mem. in Opp. to Defs.' Summ. J. Mot. [81]. hereinafter
"Pl.'s Mem.," 4.) Nurse Santos explained that an appointment may be scheduled "around the
time" of the requested date if that date is unavailable (Dep. of Elizabeth Santos, Ex. B to Defs.'
56.1 [78-3], hereinafter "Santos Dep.," 143:20–144:6), and that may be what occurred in this
instance.
        4
               It is unclear why Dr. Skondra believed Plaintiff would remain in Chicago, but a
note written by a medical resident on the day that Dr. Skondra scheduled the surgery indicates
that the judge would keep Plaintiff in Chicago. (Dep. of Dimitra Skondra. M.D., Ex. H to Defs.'
56.1, 133:12–22.)

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Plaintiff's medical records were emailed to IDOC on December 22. (Defs.' 56.1 ¶ 58.) Though

Plaintiff informed IDOC staff about his eye condition, as of the date of briefing in this case he

had still not had surgery, and he no longer has vision (including perception of light) in his right

eye. (Pl.'s 56.1 ¶ 37.)

II.      Defendants' Alleged Policies and Practices

         The Sheriff of Cook County (the "Sheriff") is responsible for operating CCDOC. (Inter-

Agency Agreement Between the Office of the Sheriff of Cook County and the Cook County

Health and Hospitals System, Ex. 6 to Pl.'s 56.1 [80-2], hereinafter "Inter-Agency Agreement," at

1.)    Cook County itself (the "County"), specifically the Cook County Health and Hospitals

System (CCHS), is responsible for operating Cermak, an entity separate from CCDOC. (Id.)

See also Boyce v. Moore, 314 F.3d 884, 887 n.1 (7th Cir. 2002). Though they are separate

entities, the Sheriff and CCHS have signed an inter-agency agreement, under which CCDOC

must "[p]articipate with Cermak in a coordinated approach to the delivery of health care to

detainees [and] [d]evelop mutually acceptable policies and procedures to accommodate both

security requirements and clinical needs for professional practice . . . ." (Pl.'s 56.1 ¶ 2; Inter-

Agency Agreement at 4–5.) A representative from the Sheriff's office attends meetings with

representatives from Cermak, Judge Kendall of this court, and a medical monitor appointed in

connection with litigation concerning medical conditions at CCDOC, United States v. Cook

Cnty., No. 10 C 2946. (Pl.'s 56.1 ¶ 8.)

         Plaintiff asserts that the County and the Sheriff were aware that Cermak had a shortage

of nurses, which resulted in delayed access to care for CCDOC inmates, including delayed

responses to inmates' HSR forms and delayed face-to-face evaluations of inmates. At meetings

and in reports issued in connection with the litigation mentioned above, the medical monitors

appointed in that case expressed concerns regarding nursing staff shortages and delays in

access to care for CCDOS inmates. (See id. ¶¶ 9–13.) In addition, the former head nurse at

Cermak, Cynthia Kienlen, made recommendations to the monitors that staffing be increased to

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improve collection and processing of HSR forms. (Id. ¶ 14.) The Sheriff's Office acknowledged

the findings made by the medical monitors (see id. ¶ 16), but Defendants dispute the contents

and reliability of both Nurse Kienlen's testimony and the monitors' reports. (See Defs.' Resp. to

Pl.'s 56.1 ¶¶ 6, 9–16.) Defendants argue that Nurse Kienlen's testimony may be unreliably

biased because Cermak fired her in April 2014 and that the monitors' reports are inadmissible

hearsay generated in the adversarial context of another litigation. (See id.)

III.      Alleged Connection Between Defendants' Policies and Plaintiff's Injury

          According to Plaintiff, Cermak's ongoing nursing staff shortage and resulting problems

with providing timely medical care caused his treatment to be delayed, which exacerbated his

injury. Plaintiff maintains that instead of addressing the problem of a nursing shortage, the

Sheriff made the problem worse by opening a new prison building and requiring existing nurses

to work overtime to staff that building. (See Pl.'s 56.1 ¶ 6; Dep. of Cynthia Kienlen, Ex. I to

Def.'s 56.1 [78-10], hereinafter "Kienlen Dep.," 50:5–12.) Though Division XI had no nursing

vacancies during the time that Plaintiff was incarcerated there (Defs.' 56.1 ¶ 11), nurses from

Division XI were "pulled" or reassigned to other division when there were staff shortages

elsewhere. (Pl.'s 56.1 ¶ 19). Plaintiff asserts that on August 2, 3, 9, 10, 23, and 28, no RN was

assigned to Division 11, making Nurse Locke the ranking member of the nursing staff on duty;

Defendants insist there was always a nursing supervisor on duty. (See Defs.' Resp. to Pl.'s

56.1 ¶ 23.) Plaintiff also asserts that nurses failed to visit Plaintiff’s tier in Division XI to collect

HSR forms on a number of occasions. In support, he offers a health service request log, which

shows that there were ten separate days in August on which no nurse initialed the form to show

that HSR forms were collected, including five days at the end of August—the period when

Plaintiff allegedly submitted the HSR form of which Defendants have no record. (See Pl.'s 56.1

¶ 39; HSR Form Log for Div. 11, Tier AA, August 2014, Ex. L to Defs.' 56.1 [78-13].)

Defendants respond that HSR forms were collected every day, even if the nurses failed to initial

the log each day. (Defs.' Resp. to Pl.'s 56.1 ¶ 39.)

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       Plaintiff contends that if Cermak had been adequately staffed and an RN had promptly

reviewed his August 3 HSR form, then the RN would have conducted a face-to-face evaluation,

and Plaintiff's retinal attachment could have been diagnosed and addressed earlier. One of the

RNs who worked in Division XI, Sheryl Burns, stated that, had she reviewed Plaintiff’s August 3

HSR form, she would have conducted a face-to-face meeting with him. (Pl.'s 56.1 ¶ 24; Dep. of

Sheryl Burns, Ex. C to Defs.' 56.1 [78-4], hereinafter "Burns Dep.," 119:21–120:2.) Plaintiff's

nursing expert, Dr. Jacqueline Moore, similarly testified that "[i]f there had been an RN there and

they were as good as Nurse Santos and Nurse Burns, they would have done a face-to-face

interview with that patient and done a more thorough assessment." (Dep. of Jacqueline Moore,

Ex. J to Defs.' 56.1 [78-11], hereinafter "Moore Dep.," 131:13–19.)         If Plaintiff had been

evaluated in August, his expert ophthalmologist believes that such an evaluation "would have

allowed an earlier diagnosis and an improved outcome." (Pl.'s 56.1 ¶ 34; Expert Report of

Jack A. Cohen, M.D., Ex. 10 to Pl.'s 56.1 [80-2], hereinafter "Cohen Report," at 4.) Dr. Cohen

elaborated on this possibility in his deposition:

       [I]f he was seen August 2nd, I'm sure his macula was probably detached.

       Would he have had surgery August 5th? Maybe not. It probably doesn't make
       much of a difference. But maybe by August 10th, he would have had surgery
       and maybe you could have done a scleral buckle and you could have done a
       vitrectomy and reattached his retina, and the guy would have his eye, and it
       wouldn't be shrunken like a shriveled grape, and he would have some sight.

(Pl.'s 56.1 ¶ 34; Dep. of Jack Cohen, M.D., Ex. 11 to Pl.'s 56.1 [80-2], hereinafter "Cohen Dep.,"

101:20–102:4.)

       In this lawsuit, Plaintiff alleges that Defendants knew about the shortage of nurses at

Cermak and the resulting delays in inmates' access to care and that Defendants' failure to

address these issues constituted deliberate indifference to his serious medical condition, in

violation of the Eighth and Fourteenth Amendments. Defendants have both moved for summary

judgment.



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                                             DISCUSSION

        To succeed on a motion for summary judgment, the moving party must demonstrate that

"there is no genuine dispute as to any material fact and that the movant is entitled to judgment

as a matter of law." FED. R. CIV. P. 56(a). A court reviewing a summary judgment motion must

"construe all facts and reasonable inferences in favor of the nonmoving party." Citizens for

Appropriate Rural Roads v. Foxx, 815 F.3d 1068, 1074 (7th Cir. 2016). The court's favor,

however, "does not extend to drawing inferences that are supported only by speculation or

conjecture." Id. Plaintiff thus bears the burden of demonstrating, through the presentation of

"specific facts," that there is a genuine issue for trial. Id.

        A prisoner who brings a § 1983 action alleging inadequate medical care in violation of

the Eighth or Fourteenth Amendments must demonstrate that he suffered a "deprivation that is,

form an objective standpoint, sufficiently serious that it results in the denial of the minimal

measure of life's necessities and [that] prison officials [were] deliberately indifferent to his state

of affairs." Gray v. Hardy, ___ F.3d ___, No. 13-3413, 2016 WL 3457647, at *2 (7th Cir.

June 24, 2016) (quotation marks omitted). Where, as in this case, a plaintiff seeks to hold a

municipality (as opposed to an individual) liable for the unconstitutional act that resulted in the

alleged injury, the plaintiff must show that the injury was caused by "an official policy adopted

and promulgated by its officers; (2) a governmental practice or custom that, although not

officially authorized, is widespread and well settled; or (3) an official with final policy-making

authority."   Thomas v. Cook Cty. Sheriff's Dep't, 604 F.3d 293, 303 (7th Cir. 2010) (citing

Monell, 436 U.S. at 690).       In a situation where the development of rules or regulations is

necessary to remedy a potentially dangerous practice, the "failure to make a policy is also

actionable." Id. The Supreme Court has cautioned that where a plaintiff's Monell claim is based

on an assertion that a municipality's policy caused an employee to inflict the constitutional

injury, "rigorous standards of culpability and causation must be applied to ensure that the

municipality is not held liable solely for the actions of its employee." Bd. of Cty. Comm'rs of

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Bryan Cty., Okl. v. Brown, 520 U.S. 397, 405 (1997). Those standards require the plaintiff to

show that the municipality's deliberate conduct was the "moving force" behind the alleged injury,

by demonstrating "a direct causal link between the municipal action and the deprivation of

federal rights." Id. at 404.

         Defendants concede that Plaintiff's eye injury constitutes an objectively serious medical

condition, but they deny that Plaintiff has produced admissible evidence to demonstrate that any

official policy or practice showed deliberate indifference to his medical needs or that any such

policy or practice was the moving force behind his injury. In addition, the Sheriff argues that his

office cannot be liable for Plaintiff's injury because the provision of medical care to inmates at

CCDOC is the responsibility of Cook County, not the Sheriff's Department. The court discusses

the Sheriff's argument first before turning to the arguments both Defendants raise.

I.       The Sheriff's Responsibility

         Courts within this district have reached different conclusions about whether a CCDOC

inmate can hold the Sheriff liable under § 1983 for alleged denials or delays of medical

treatment. Compare Harrison v. Cty. of Cook, No. 08 C 3202, 2011 WL 4036115, at *8 (N.D. Ill.

Sept. 12, 2011) (prisoner's claim against Sheriff failed as a matter of law; County was

responsible for providing medical care to detainees, and there was insufficient evidence that

Sheriff's office provided medical care or otherwise contributed to County's alleged deliberate

indifference) with Johnson v. Dart, No. 15 C 1327, 2016 WL 1392324 (N.D. Ill. Apr. 8, 2016)

(“the Court holds that [Sheriff[ Dart is responsible for medical care within the CCJ”); Johnson v.

Sheriff of Cook Cty., No. 15 C 741, 2015 WL 1942724, at *1 (N.D. Ill. Apr. 24, 2015) (Sheriff's

office is not immune as a matter of law from liability for problems associated with the provision

of medical care to CCDOC inmates) and Bramlett v. Dart, No. 14 C 5939, 2015 WL 4148711, at

*2 (N.D. Ill. July 9, 2015) (plaintiff stated a claim against Sheriff by alleging that Sheriff had failed

in his responsibility to ensure that the medical needs of inmates are adequately met) (citation

and internal quotation marks omitted. In this case, Plaintiff has presented evidence that the

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Sheriff's office entered into an agreement with the County that obligated the Sheriff to

participate with Cermak in a "coordinated approach to the delivery of health care to detainees . .

. ." (Pl.'s 56.1 ¶ 2; Inter-Agency Agreement at 4.) Plaintiff has also shown that representatives

from the Sheriff's office were made aware of problems regarding access to medical care among

CCDOC inmates. (See, e.g., Pl.'s 56.1 ¶¶ 10–11.) Thus the court concludes that a reasonable

jury could find, on this record, that the Sheriff could have taken some action to address

constitutionally inadequate medical care for CCDOC inmates at Cermak.

II.       Evidence of a Policy of Practice

          Defendants argue that Plaintiff has failed to present admissible evidence to show that

they maintained a policy or practice that evinced deliberate indifference to Plaintiff's medical

needs. The evidence upon which Plaintiff relies for this claim, they contend, is inadequate

because it (1) shows only isolated instances of improper conduct rather than a widespread

practice, (2) is inadmissible as hearsay, or (3) is contradicted by the evidence Defendants have

supplied.

          Defendants urge that Plaintiff's evidence does not establish the existence of a

widespread practice or policy. Indeed, there is little evidence of any widespread practice on the

part of CCDOC officers to deny inmates' requests to visit a doctor in the dispensary. Plaintiff's

only evidence of such a "practice" is his deposition testimony that his own requests to visit the

dispensary were denied "[l]ike two times."        (Roland Dep. at 43:9–10.)        To establish a

"widespread custom or practice," however, a plaintiff must point to "more than one instance [of

misconduct], or even three . . . ." Thomas, 604 F.3d at 303 (internal citation omitted).

          There is, however, at least some evidence of a constitutionally problematic practice or

policy: the evidence that Cermak had a nursing shortage, of which Defendants were aware, that

resulted in delayed processing of HSR forms and delayed access to care for CCDOC inmates.

That evidence could support a jury determination that Defendants maintained a widespread

practice—or at least failed to enact a policy in response to a constitutionally problematic

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situation—and displayed deliberate indifference to prisoners' medical needs.            Defendants

challenge the evidence of this purported policy as inadmissible hearsay. Plaintiff’s claim of

nursing shortages and delays in access to care at Cermak relies heavily on findings from a

medical monitor's report that was generated in connection with a separate litigation.           The

County maintains that the report on which Plaintiff relies contains inadmissible hearsay—but the

County appears to be referring to a report issued by the Department of Justice prepared in

anticipation of litigation, while the report upon which Plaintiff relies is a post-judgment report of

the medical monitor appointed in that case. (Compare Def. Cook County's Mem. in Supp. of

Mot. for Summ. J. [79] 12–15 (discussing DOJ report prepared to provide pre-suit notice and

citing other district court decisions discussing the same pre-suit report) with Monitor Esmaeil

Porsa's Report No. 8, May 2014, United States v. Cook County, No. 10 C 2946, Ex. 8 to Pl.'s

56.1 [80-2] (discussing post-judgment compliance with agreed order issued in that case).)

       Plaintiff, for his part, interprets the County's argument as attacking the admissibility of

the monitor's report, but he neglects to address the issue of whether the report is admissible,

focusing instead on other evidence of the alleged unconstitutional practice or policy. (See Pl.'s

Mem. at 10.) As the court reads the monitor’s report, regardless of whether it is admissible to

support the assertion that there was a nursing shortage and a practice of delayed medical care

for CCDOC inmates, the report is, at a minimum, admissible as evidence that Defendants had

notice of these concerns. In addition, Plaintiff has provided testimony from Cermak nurses,

based on their own personal knowledge, about the nursing shortages and delayed processing of

HSR forms, including testimony that nurses in Division XI were reassigned to other divisions

because of staffing shortages elsewhere. (See Pl.'s 56.1 ¶¶ 9, 12–14, 19–20, 23.)

       In short, the record contains sufficient evidence to allow a jury to find that there was a

practice of understaffing nurses at Cermak, of which Defendants had knowledge and which may

have led to delayed access to medical care for CCDOC inmates. Defendants dispute that there

actually was a shortage of nurses in Division XI during the relevant time period, but Plaintiff has

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produced evidence that Division XI nurses were reassigned to other divisions and that Division

XI occasionally lacked an RN on duty. That evidence is sufficient to create a question of fact for

the jury about Defendants' practices related to the adequacy of the nurse staffing in Plaintiff's

division. (See Pl.'s 56.1 ¶¶ 19–20, 23.)

       In addition to the shortage of nurses within Cermak, the court understands Plaintiff to be

asserting that Defendants maintained two other constitutionally problematic policies or

practices, which allegedly resulted in his injuries: (1) Cermak Policy E-07, which allowed LPNs

to review HSR forms; and (2) a practice of ignoring or misplacing HSR forms, such as the form

Plaintiff allegedly submitted at the end of August 2014. With respect to Policy E-07, there is

little evidence in the record to suggest that the policy itself is constitutionally problematic.

Plaintiff asserts that the policy violates state law because it allows LPNs like Nurse Locke to

review HSR forms and make health assessments, which is outside the scope of an LPN's

practice under the Illinois Nurse Practice Act, 225 ILCS 65/55-30.    That law, however, permits

LPNs to "collect[] data and collaborat[e] in the assessment of the health status of a patient."

225 ILCS 65/55-30(a)(1). Plaintiff may be correct that the statute does not permit an LPN to

make an independent assessment or diagnosis of an inmate’s health, but Policy E-07 does not

appear to contemplate such a practice. Instead, the policy permits LPNs to review HSR forms

to determine whether a face-to-face evaluation was necessary, setting forth, as the only stated

criterion for making that determination, whether or not the HSR form stated a clinical symptom.

(See Pl.'s 56.1 ¶ 4.) Plaintiff has presented no evidence that the authority to determine whether

an HSR form stated a clinical symptom—whether the form stated that the patient had a

headache, for example, as opposed to "I need new shoes," (Kienlen Dep. 99:8–12)—is outside

the scope of an LPN's practice. The fact that Nurse Locke apparently failed to follow Policy E-

07 by neglecting to conduct a face-to-face evaluation despite the clinical symptom stated in

Plaintiff's August 3 HSR form does not show that the policy itself was problematic. See City of

Canton, Ohio v. Harris, 489 U.S. 378, 387 (1989) (rejecting argument that employee's

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unconstitutional application of policy could subject city to liability because under that theory

"liability would then rest on respondeat superior"). And the fact that an official violates state law

does not by itself establish a federal Constitutional violation. Armstrong v. Daily, 786 F.3d 529,

542 (7th Cir. 2015).

           Plaintiff also notes jail officers’ failure to respond to the HSR form he claims to have

submitted in late August, and argues that this failure, too, contributed to his injury. Defendants

have no record of that late August HSR form. In any event, apart from this single instance in

which the nurses allegedly failed to respond at all to—and possibly misplaced—his HSR form,

there is no evidence that Defendants had knowledge of a widespread practice that nurses were

failing to respond completely to HSR forms. Thus a theory of Monell liability based on the

failure to respond to Plaintiff's late August HSR form is infirm.

           Defendants’ practices with respect to HSR forms are insufficient to establish a policy, but

as explained above, the nursing shortage, arguably did constitute a widespread practice. If that

practice resulted in the Division XI nursing staff's misplacing or ignoring Plaintiff's complaint, the

court must address whether the evidence is sufficient to establish that this practice caused his

injury.

III.       Causation

           To succeed on a Monell claim, the plaintiff must "show a direct causal connection

between the policy or practice and his injury." Rice ex rel. Rice v. Corr. Med. Servs., 675 F.3d

650, 675 (7th Cir. 2012). On this issue, Plaintiff faces an uphill battle: The chain of causation

connecting Defendants' alleged practice to the aggravation of Plaintiff's injury is long, and a jury

may well be unable to draw the inferences necessary to bridge the gap between the practice

and the injury without resorting to speculation or conjecture.

           Plaintiff's counterfactual account of how Defendants could have prevented or mitigated

his injury appears to include the following steps and inferences: (1) Defendants could have

hired additional nurses at Cermak; (2) as a result, an RN would have been available to review

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Plaintiff's August 3 HSR form, and his late August form would not have been lost or ignored; (3)

unlike Nurse Locke, the RN would have immediately conducted a face-to-face-evaluation of

Plaintiff; (4) based on the evaluation, the RN would have scheduled an emergency appointment

for Plaintiff with an optometrist or ophthalmologist sooner than the appointment Nurse Locke

scheduled; (5) the optometrist or ophthalmologist would have diagnosed Plaintiff's retinal

detachment or would have referred him to a specialist who would do so quickly; (6) Plaintiff

would have had surgery on his eye "maybe by August 10th . . . and maybe [the surgeon] could

have done a scleral buckle and . . . could have done a vitrectomy and reattached his retina, and

the guy would have his eye. . . .” (Cohen Dep. 101:20–102:4).

       This causation chain is a long one, and it may be difficult for a jury to conclude that

Defendants were a but-for cause of Plaintiff's injury, let alone the "moving force" behind it.

Brown, 520 U.S. at 405. For example, there is little evidence that it was Division XI's failure to

staff nurses qualified to review HSR forms (because they have not shown that Nurse Locke was

unqualified) that resulted in Nurse Locke's failure to conduct a face-to-face evaluation of

Plaintiff. Nor is it clear that if an RN had reviewed Plaintiff's forms, he or she would have

scheduled Plaintiff for an earlier appointment with an eye doctor. RN Burns herself testified that

Plaintiff's complaint of vision loss in his August HSR would have prompted her to conduct a

face-to-face evaluation, but that there would not be any urgency in doing so. (Burns Dep.

120:9–12.) Finally, even if the above inferences were supported and Plaintiff had been seen by

a surgeon in early August, the testimony of Plaintiff's medical expert, Dr. Cohen, about whether

an early August surgery would have improved his condition is itself arguably speculative, as is

his statement that "[a]n August evaluation would have allowed an earlier diagnosis and

improved outcome." (Cohen Report at 4.) All of that said, the court concludes that a jury, not

the court, should make the determination whether Defendants' policies or practices—whether

understaffing or generally allowing delayed processing of HSR forms—were the cause and

"moving force" behind Plaintiff's injury. See Dixon v. Cty. of Cook, 819 F.3d 343, 349 (7th Cir.

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2016) (reversing grant of summary judgment where reasonable jury could find that systemic

deficiencies in detention center's healthcare system were moving force behind plaintiff's injury).

                                         CONCLUSION

       Plaintiff has presented enough evidence to allow a reasonable jury to conclude that

Defendants' policies or practices were the moving force behind Plaintiff's eye injury.

Defendants' motions for summary judgment [74] [77] are therefore denied.

                                             ENTER:




Dated: August 11, 2016                       _________________________________________
                                             REBECCA R. PALLMEYER
                                             United States District Judge




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